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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA            :
                                    :
 v.                                 :              Case: 21-cr-725-RDM-MAU
                                    :
JARED SAMUEL KASTNER                :
                                    :
Defendant.                          :
_____________________________________


       DEFENDANT JARED KASTNER’S MOTION FOR A 45-DAY
      CONTINUANCE TO REPORT TO PRISON DUE TO EXTREME
                        HARDSHIP.


      Defendant Kastner, by and through his attorney of record John Pierce, Esq.,

hereby respectfully requests that the Court direct that the Defendant Jared Kastner

report to prison to begin serving his sentence of five (5) months delayed by 45

days, and for his reasons states as follows:

      On October 23, 2024, the Honorable Magistrate Judge Moxila A.

Upadhyaya heard the Defendant’s sentencing proceedings. The Magistrate

sentenced Jared Kastner to 5 months in jail for four misdemeanor offenses.

      Kastner has one newborn baby and one 15 month old toddler at home and

his wife is in recovery from her pregnancy. Kastner works two jobs to support the

household. Kastner expected to have an additional month to try to save enough
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money to keep the household afloat before self-surrendering to his prison term.

Unfortunately, the Justice Department has directed him to self-report to MCI-

Chicago on December 23—the day before Christmas Eve.

      A surrender date calculated for cruelty.

      The arrangements for reporting for Kastner’s 5 month prison sentence seem

calculated for cruelty. Kastner is active in Christmas preparations at his church

and this report date will deprive Kastner’s newborn daughter of her first Christmas

with her father.

      Jared Kastner has two daughters, A.J., 15 months old, and D.M., 3 months

old. Kastner is needed to assist in the care of both his wife and his 3 month old

daughter while his wife is recovering from giving birth. Kastner’s 5-month prison

term will leave his family of four in a household without financial support.

      The family has no savings and Kastner’s wife cannot pay the family bills

without Jared Kastner working. Another 45 days would allow Kastner to save up

some more money for his family and for his wife to transition and work on getting

a job. Kastner’s wife Kaitlin is breast-feeding her infant and will need to find

employment which will accommodate her physical needs as well as an unusual

schedule. Kaitlin also needs Jared Kastner to help care for the daughters while she

drives to job interviews.
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      Also, Jared Kastner lives near Lexington, Indiana. He is being asked to

report to Chicago, Illinois about 280 miles away. Travelling to see him there

would be financially prohibitive for Kastner’s wife and family.

      A sentence of five months is a significant punishment and a burden imposed

upon the defendant for a first-time misdemeanor case. However, it is not so long

or severe as to matter one way or the other to the Government when the prison

term is served. It is hard for the Government to argue that it makes a difference to

the Government whether the sentence is served so as to disrupt Kastner’s family

holidays or not.

      Kastner was not convicted of any act of violence or property damage, only

trespassing, disorderly conduct, and parading in the U.S. Capitol.

      Meanwhile, the 1984 Sentencing Reform Act does not authorize ancillary

punishments such as separating a young family over Christmas just when a new

baby is being welcomed into the family. Magistrate Upadhyaya did not include in

her sentencing any such act or detail of emotional stress or torment. If there were

an intentional plan to inflict emotional pain, it was not a part of the sentence that

Magistrate Upadhyaya decreed.

      Finally, Kastner has filed a notice of appeal and will be awaiting the results

of the appeal.
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Dated December 10, 2024                  RESPECTFULLY SUBMITTED,

                                                        /s/ Roger I. Roots
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                     CERTIFICATE OF SERVICE

I hereby certify and attest that on December 10, 2024, I uploaded this
document to the Court’s ECF electronic filing system, thereby serving the
document on counsel of record for all parties, including Assistant U.S.
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